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     ANTHEM BLUE CROSS LIFE AND HEALTH
 7 INSURANCE COMPANY
 8                            UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10
11 NAMDY CONSULTING, INC.,                     Case No. CV 18-3243
12               Plaintiff,                    NOTICE OF REMOVAL TO THE
          vs.                                  UNITED STATES DISTRICT COURT
13
   ANTHEM BLUE CROSS LIFE AND
14 HEALTH INSURANCE COMPANY
   and DOES 1-40,
15
                 Defendants.
16
17
18        TO THE UNITED STATES DISTRICT COURT, CENTRAL DISTRICT
19 OF CALIFORNIA, AND TO PLAINTIFFS AND THEIR ATTORNEYS OF
20 RECORD:
21        PLEASE TAKE NOTICE that Defendant, Anthem Blue Cross Life and
22 Health Insurance Company (“Anthem”), contemporaneously with the filing of this
23 Notice, is effecting the removal of the above referenced civil action, Case No.
24 BC680021, from the Superior Court of the State of California, for the County of Los
25 Angeles, to the United States District Court, for the Central District of California,
26 pursuant to 28 U.S.C. §§1331, 1332 and 1441(b) on the basis that this Court has
27 original subject matter jurisdiction (Federal Question) of this matter because it arises
28 under the Employee Retirement Income Security Act of 1974, 29 U.S.C. §1001, et.
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 1 seq. (“ERISA”). As set forth below, Anthem files this removal notice within the 30-
 2 day period required in 28 U.S.C § 1446(b)(3).
 3        The removal is based on the following grounds:
 4
 5 1.     NATURE OF THE CASE.
 6        1.     Plaintiff NAMDY Consulting Inc. (“NAMDY”) filed a complaint
 7 against Anthem in the Superior Court of the County of Los Angeles, California, Case
 8 No. BC680021 on October 18, 2018. In the original Complaint, NAMDY alleged
 9 that it is a purported assignee of unnamed health care providers (“Physicians”) who
10 allegedly provided medical services to patients enrolled in health care plans
11 administered or insured by Anthem. NAMDY alleges that Anthem underpaid the
12 Physicians for emergency services allegedly rendered to its enrollees by failing to
13 reimburse the Physicians at the “usual, customary and reasonable rates,” which
14 NAMDY contends is the Physicians’ billed charges.
15        2.    The Complaint alleged state law claims for (1) recovery of payment for
16 services rendered; (2) recovery on open book account        (3) quantum meruit; (4)
17 breach of implied contract; (5) declaratory relief; (6) negligence per se and (7)
18 interference with prospective economic advantage.        There were no allegations,
19 however, that Anthem breached any of the patient enrollees’ health benefit plans, nor
20 did NAMDY seek to enforce the terms of such contracts. The Complaint did not
21 provide any details about the patient enrollees, the medical services allegedly
22 rendered to them or the health plans in which they were enrolled.
23        3.    On December 26, 2017, NAMDY voluntarily filed a First Amended
24 Complaint (“FAC”), eliminating the cause of action for negligence per se. NAMDY
25 again alleged that Anthem underpaid the Physicians for emergency services allegedly
26 rendered to its enrollees by failing to reimburse the Physicians at the “usual,
27 customary and reasonable rates,” i.e., the Physicians’ billed charges. Once again,
28 there were no allegations that Anthem breached any of the patient enrollees’ health
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 1 benefit plans.      Nor did NAMDY seek to enforce the terms of such plans.
 2 Additionally, the FAC did not provide any details about the patient enrollees, the
 3 medical services allegedly rendered to them or the health plans in which they were
 4 enrolled.
 5        4.     Pursuant to a stipulation and order, NAMDY filed its Second Amended
 6 Complaint (“SAC”) on February 19, 2018.
 7        5.     In the SAC NAMDY once again alleges that it is the assignee of the
 8 Physicians’ (SAC, ¶¶ 1 and 2), and that Anthem underpaid the Physicians for
 9 emergency services allegedly rendered to its enrollees by failing to reimburse the
10 Physicians at the “usual, customary and reasonable rates,” i.e., its billed charges.
11 (see, e.g., SAC., ¶¶ 24, 27, 35, 37 and 38.) The SAC alleges state law claims for (1)
12 recovery of payment for services rendered; (2) recovery on open book account (3)
13 quantum meruit; (4) breach of implied contract; and (5) declaratory relief.
14        6.     Unlike its allegations in the Complaint and the FAC, NAMDY alleges
15 in the SAC for the first time in this action, that Anthem breached various patient
16 enrollees’ health benefit plans by failing to pay the full amount of contract benefits to
17 the Physician, and, for the first time in this action, NAMDY expressly requests the
18 Court to enforce the terms of the members’ health plans. In that regard, the SAC
19 alleges as follows:
20
21               52.     The Patient Protection and Affordable Care Act (PPACA)
22        §1302 mandates that certain "Essential Health Benefits" must be
23        covered by all health plans, and emergency services is one of them.
24        PPACA § 1302(b)(1)(B). The law states that "a qualified health plan
25        will not be treated as providing coverage for the essential health
26        benefits... unless the plan provides that… (ii) if such services are
27        provided out-of-network, the cost-sharing requirement (expressed as a
28        copayment amount or coinsurance rate) is the same requirement that
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 1        would apply if such services were provided in-network." PPACA §
 2        3102(b)(4)(E). Prudent practices will note that the cost-sharing
 3        requirement imposed upon an enrollee for emergency services provided
 4        in-network is 0%. Thus, federal law requires the health plan to
 5        reimburse an out-of-network provider at 100% of billed charges for
 6        emergency services in order to ensure the same cost sharing requirement
 7        of 0% for out-of-network services.
 8              53.       It is therefore clear that the Defendants own Contract/Plan
 9        with the Patient requires that the Defendant must pay Physicians for
10        Emergency Care at a rate equivalent to the Copayment or Coinsurance
11        rate with the in Network rates within that Contract/Plan. The Patient
12        has had such Emergency care and the Physician who has provided
13        that care has been denied payment in breach of that same said
14        contract.
15              54.      In any event, the Defendant must be bound by the terms
16        of the Contract/Plan that they have between them and the patient
17        which covers scenarios where the Patient requires emergency care.
18        It is understood and expected that the wording will include reference to
19        Usual, Customary and Reasonable Rates in respect of the payment for
20        those emergency services. In the event that usual, customary and
21        reasonable rates is not specifically defined in the Contract/Plan then the
22        Definition as described in the Health and Safety Code.
23              55.      In the event that this Court does not accept that the
24        Defendant is bound by the Knox-Keene Act, and only the contract
25        itself should apply, any restriction that would normally apply to the
26        Physicians on balance billing the Patients for emergency services
27        must therefore also not apply and the Court is asked to confirm this
28        position.
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 1 SAC, ¶¶52, 53, 54 and 55, emphasis added.
 2        7.     Like the Complaint and FAC, the SAC does not provide any details
 3 about the patient enrollees, the medical services allegedly rendered to them or the
 4 health plans in which they were enrolled.     As a result, Anthem requested NAMDY
 5 to identify the members and claims at issue, so it could identify the claims and health
 6 plan(s) at issue in this case. The first time Anthem learned which of its enrollees
 7 were at issue in this case was on March 27, 2018, when it received from NAMDY’s
 8 counsel a spreadsheet identifying the claims at issue. Among other things, these
 9 spreadsheets revealed for the first time the enrollees’ names, and in some instances,
10 their member identification number, which allowed Anthem to determine what type
11 of coverage, applied for some, but not all, of the enrollees.
12        8.     As discussed in more detail below, some of the enrollees at issue in this
13 case are enrolled in health plans governed by ERISA. As the SAC makes clear,
14 NAMDY seeks to enforce the terms of those ERISA-governed plans. SAC, ¶¶52,
15 53, 54 and 55.
16        9.     The presence of the ERISA-governed health plans provides a basis of
17 removal in this case, but was not apparent on the face of the original Complaint, the
18 FAC or the SAC, and did not become apparent until after Anthem received the
19 spreadsheet of claims from NAMDY’s counsel on March 27, 2018. Because this
20 Notice of Removal is being filed within thirty days of that date, the first date on
21 which Anthem could determine that ERISA preemption applied, Anthem is removing
22 this case “within 30 days after receipt by [Anthem], through service or otherwise, of
23 a copy of an amended pleading, motion, order or other paper from which it may be
24 first ascertained that the case is one which is or has become removable.” 28 U.S.C §
25 1446(b)(3). Accordingly, this Notice of Removal is timely. See Harris v. Bankers
26 Life & Cas. Co., 425 F.3d 689, 694 (9th Cir. 2005).
27        10.    The spreadsheet sent by NAMDY’s counsel identifies, among other
28 things, the names of the Physicians, the patients, the dates of service, and the
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 1 amounts paid and allegedly due on the claims. There are 28 claims identified in the
 2 spreadsheet. Of those, NAMDY provided member identification numbers for only
 3 eight of the claims. Consequently, Anthem was able to ascertain the relevant plan
 4 information as to only those eight claims. As for the remaining 20 claims, Anthem
 5 does not have sufficient information at this time to identify those patients in its
 6 records or to obtain information regarding the health benefit plans in which they may
 7 be enrolled.
 8        11.     Of the eight claims that Anthem was able to ascertain the relevant health
 9 plan information, Anthem was able to determine, for the first time in this matter, that
10 four of those claims arise from health care services rendered to patients enrolled in
11 ERISA-governed plans. Specifically, the spreadsheet shows that one such claim
12 arises out of services that were rendered between May 3, 2017 and July 27, 2017 by
13 NAMDY’s assignee, Dr. Nissanoff, to an enrollee, whose initials are G.D. Another
14 claim arises from services rendered by Dr. Nissanoff on June 18, 2016 to an enrollee,
15 whose initials are J.P. At the time of those services, both G.D. and J.P. were enrolled
16 in the Motion Picture Industry Health Plan, a self-funded, ERISA-governed
17 employee health benefit plan for which Anthem serves as the claims administrator.
18 (Declaration of Randy Hendel, ¶ 4.)
19        12.     The spreadsheet further shows that a third claim at issue arises from
20 services that were rendered by another assignee of NAMDY, Dr. Ghandehari, to an
21 enrollee, whose initials are A.O., between April 17, 2017 and April 20, 2017. A.O.
22 is enrolled in an Anthem Gold PPO 500/20%/4500 plan, a small group ERISA-
23 governed employee health benefit plan. (Declaration of Randy Hendel, ¶5, Exhibit
24 1.)
25        13.     The spreadsheet also shows that a fourth claim at issue in this case
26 arises from services rendered on December 23, 2017 by Dr. Smith, another assignee
27 of NAMDY, to an enrollee, whose initials are N.M. N.M is enrolled in the Beyond
28 Benefits Life Science Association Trust, an ERISA-governed employee health
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 1 benefit plan that is administered and insured by Anthem.       (Declaration of Randy
 2 Hendel, ¶ 6, Exhibit 2.)
 3        14.      Anthem suspects that there will be more claims at issue arising from
 4 services rendered to patients who are enrolled in an ERISA-governed plan, if and
 5 when the patients named on the spreadsheet can be identified as Anthem enrollees
 6 and the corresponding health plans can be ascertained.
 7        15.      True and correct copies of the Summons, Complaint, First Amended
 8 Complaint and SAC, as well as all other process, pleadings, and orders served on
 9 Anthem are attached hereto and incorporated herein as Exhibit “A”.
10                                 GROUNDS FOR REMOVAL
11        16.      The State Court Action has been removed to this Court based upon
12 federal question jurisdiction pursuant to 28 U.S.C. §§1331 and 1441(b), in that
13 NAMDY’s suit is one to recover damages stemming from the allegedly improper
14 denial and/or administration of employee welfare benefits under employee benefit
15 plans governed by ERISA and to enforce the terms of such employee benefit plans.
16 This suit is one of a civil nature over which the United States has original
17 jurisdiction.
18        17.      The SAC alleges state law claims for (1) recovery of payment for
19 services rendered; (2) recovery on open book account         (3) quantum meruit; (4)
20 breach of implied contract; and (5) declaratory relief.       Such state law claims,
21 however, are completely preempted by ERISA because NAMDY alleges that
22 Anthem breached the terms of the enrollee’s contracts by failing to fully reimburse
23 the Physicians and expressly seeks to enforce the terms of the enrollees’ plans (see
24 SAC, ¶¶52, 53, 54 and 55). See Metropolitan Life Ins. Co. v. Taylor, 481 U.S. 58
25 (1987); Aetna Health, Inc. v. Davila, 542 U.S. 200, 210-214 (2004); Pilot Life Ins.
26 Co. v. Dedeaux, 481 U.S. 41, 54 (1987). And because Plaintiffs are suing as the
27 alleged assignees of the Physicians, who, on information and belief are the assignees
28 of the ERISA plan beneficiaries, NAMDY’s state law claims                 are completely
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 1 preempted by ERISA. See Misic v. Bldg. Service Employees Health & Welfare
 2 Trust, 789 F.2d 1374, 1378 (1986) (ERISA preempts the state claims of a provider
 3 suing as an assignee of a beneficiary's rights to benefits under an ERISA plan).
 4        18.    Additionally the Court may exercise supplemental jurisdiction over
 5 claims that are not preempted by ERISA, because they arise out of the same common
 6 nucleus of operative facts as the ERISA-preempted claims, i.e., that Anthem
 7 breached the enrollees’ Plans by allegedly failing to fully reimburse the Physicians
 8 for the medical services at issue. See Emrich v. Touche Ross & Co., 846 F.2d 1190,
 9 1195 (9th Cir. 1988) (“the doctrine of pendant jurisdiction . . . permits the district
10 court to adjudicate factually related state claims in cases raising federal questions,
11 whenever the federal law claims and state law claims derive from a common nucleus
12 of operative fact.”).
13                                         VENUE
14        19.    Venue lies pursuant to 28 U.S.C. §1441, which provides for removal to
15 the district court for the district and division embracing the place where the action is
16 pending. The State Court Action was originally filed in the County of Ventura,
17 which is within the Central District of California.
18                                           NOTICE
19        20.    Pursuant to 28 U.S.C. §1446(d), Anthem will provide written notice of
20 this removal to NAMDY and will file and serve such notice in the State Court
21 Action.
22                                 CONSENT TO REMOVAL
23        21.    There are no other named defendants in this case. Any other defendants
24 are fictitiously named and need not be considered for the purpose of removal. 28
25 U.S.C. §1441(a).
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 1        WHEREFORE, Anthem respectfully notifies this Court that, pursuant to 28
 2 U.S.C. §1441(c), the State Court Action referenced above has been removed from
 3 the Los Angeles County Superior Court to this Court.
 4 Dated: April 18, 2018                VON BEHREN & HUNTER LLP
                                        William E. von Behren
 5                                      Carol B. Lewis
 6
 7
                                        By: /s/ William E. von Behren
 8                                          William E. von Behren
                                            Attorneys for Defendant
 9                                          ANTHEM BLUE CROSS LIFE
                                            AND HEALTH INSURANCE
10                                          COMPANY
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